     Case 1:15-cv-00934-TSE-JFA Document 1 Filed 07/20/15 Page 1 of 6 PageID# 1

                                                                                                FILED
                                                 IN THE
                                UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA                        ' 2815 JUL 20 P ip iq
                                     Alexandria Division

VERONICA KARIUKI                                                                       CtraU3D!ST.-;CTC0i'RT
                                                                                        ALi;XA?;i}n!A, m'iilllA
1027 C Margate Court
Sterling, VA 20164

           Plaintiff,
                                                         Civil Case No.
V.



ETEAM, INC.
1001 Dorm Avenue
Suite #201
South Plainfield, NJ 07080

Serve on:
Office of the Secretary of the
Commonwealth
Levar Stoney
1111 East Broad Street, 4'^' Floor
Richmond, Virginia 23219

           Defendant.


                                             COMPLAINT


           Plaintiff Veronica Kariuki (hereinafter "Plaintiff) files this complaint against Defendant

eTeam, Inc. (hereinafter "eTeam") and states as follows:

                   STATEMENT OF THE CASE. JURISDICTION AND VENUE

           (1) This is a complaint to remedy discrimination based on gender in violation of Title VII

of the Civil Rights Act of 1964,42 U.S.C. § 2000e et seq.

           (2) The district court has federal question jurisdiction pursuant to 28 U.S.C. §2000e-

5(f)(3).

           (3) Plaintiff timely filed a charge of discrimination with the United States Equal
  Case 1:15-cv-00934-TSE-JFA Document 1 Filed 07/20/15 Page 2 of 6 PageID# 2




Employment Opportunity Commission; exhausted all administrative procedures; received a notice

of right to sue dated April 21, 2015; and files this complaint within ninety (90) days of receipt

thereof


          (4) Venue properly lies in the Alexandria division ofthe Eastern District of Virginia in that

all of the discriminatory acts alleged herein occurred in the Eastern District of Virginia.

                                                PARTIES


          (5) Plaintiff at all times material hereto was and is a resident of Sterling, in the

Commonwealth of Virginia.

          (6) eTeam, Inc. is an "employer" within the meaning of Title VII, Section 701,42 U.S.C.

§2000e(b), and employs more than 500 employees.

                                      STATEMENT OF FACTS


          (7) eTeam, Inc. is a corporation doing business in the eastern district of the

Conmionwealth of Virginia and elsewhere.

          (8) eTeam, Inc. provides "high-volume staffing, SOW and payrolling services to

structured contingent workforce programs and projects across the U.S., Canada, and India." It also

offers "contract-to-hire and direct placement." See eTeam, Inc., www.eteamic.com (last visited

July 17, 2015).

       (9) On July 31,2013, Plaintiff received an email from Mr. Kumar Nagdev, a Technical

Recruiter for eTeam, advertising an open Field Technician position with one of eTeam's clients.

The email appeared to be a mass email for the purpose of seeking applicants for the job position.

See Exhibit A.


          (10)    The email provided the position description, the job requirements, and stated that
  Case 1:15-cv-00934-TSE-JFA Document 1 Filed 07/20/15 Page 3 of 6 PageID# 3




the position, which was located in Alexandria, Virginia, was a long-term opportunity. The email

also provided the qualifications for the position were "A+ Certification," "experience with

replacing hardware components in desktop computers in a professional environment," and

"experience with replacing hardware components in laptop computers in a professional

environment." The email also clearly stated that candidates who were "qualified, available [or]

interested" should contact Mr. Nagdev directly to apply.

        (11)      Plaintiff was well-qualified for the position, and had all of the requested

qualifications.

        (12)      On August 5, 2013, Plaintiff applied for the position via email and provided her

resume. Her resume outlined that she had all the required and requested qualifications, including:

        •   Bachelor of Science in Computer Science and Computer Programming;

        •   Currently attending the University of Maryland University College for a Master

            of Science in IT Management/Business Management;

        •   Seventeen years of relevant experience as a computer technician;

        •   Technical qualification including: UNIX, HP, UX, A+, ICS, C-H-, C, JAVA,

            HTML, Photoshop, Flash, Dreamwaver, Technical Service & Support for both

            Windows and Macintosh environments (WinXP, Vista, Win7, and Win8

            operating platforms and OSX platforms); Configure iOS and Android operating

            system devices; Microsoft Outlook email client; Parallels, VM Ware, and other

            virtual environments; Manual Virus Removal Skills, Hardware/Software

            Repair Skills, and Data Migration Skills;

       •    Experience as a Software Engineer, a Technical Representative, a Supervisor

            for Best Buy's Geek Squad, and as the IT/Sales Manager for Staples, Inc.;
  Case 1:15-cv-00934-TSE-JFA Document 1 Filed 07/20/15 Page 4 of 6 PageID# 4




       •   In each of the previously mentioned job positions. Plaintiff has worked with

           hardware testing, hardware analysis, hardware repair, developing software, and

           designing websites.

See Exhibit B.


       (13)      Within minutes of submitting her application. Plaintiff received an email from Mr.

Nagdev summarily rejecting her application because of her gender. Specifically the email stated:

"Thanks for the email. But however we are looking for Male Candidate as this job is an Field

Job." See Exhibit C. (emphasis in original).

       (14)      After receipt of this email. Plaintiff did not hear anything further from Mr. Nagdev

or anyone else from eTeam.

       (15)      Plaintiff filed a charge with the U.S. Equal Employment Opportunity Commission

(hereinafter "EEOC") against eTeam, Inc. for sex discrimination in violation of Title VII of the

Civil Rights Act of 1964.

       (16)      On October 29,2014, the EEOC issued a determination. The EEOC found that all

requirements for coverage have been met, that eTeam is an employer within the meaning of Title

VII, that timeliness, deferral and all other requirements for coverage have been met. See Exhibit

D, EEOC Determination.

       (17)      The determination included the following information:

           Charging Party alleges that on July 31, 2013, she received an email from Mr.
           Kumar Nagdev, a Recruiter for Respondent, advertising a Field Technician
           position. On August 5, 2013, she applied for the position. Within minutes, she
           received an email from Mr. Nagdev stating that the position was only available
           to male candidates because it was a "field job."


           Respondent denies that any such e-mail was sent and questions the authenticity
           of Ae e-mail copy produced by the Charging Party. It responds that the
           Charging Party was not selected for submission to the client because she was
      Case 1:15-cv-00934-TSE-JFA Document 1 Filed 07/20/15 Page 5 of 6 PageID# 5




             overqualified and looking for a position with the possibility of advancement,
             whereas the advertised position was for a limited 6-12 month period.
             The records reveals that, although Respondent was unable to locate the e-mail
             on its server and questions the authenticity of the email, Respondent admitted
             that recruiters routinely delete applicant data, including email communications
             with applicants, on a daily basis. In addition, credible evidence demonstrates
             that the e-mail is authentic. Only e-mails that are actively archived by recruiters
             are backed up. Even when backed up, the retention period is only seven days.
             A search for the e-mail, therefore, would not necessarily produce the e-mail in
             question.

Id.


         (18)   The determination then determined:

             there is reasonable cause to believe that eTeam did not select Charging Party
             for submission to its client because ofher sex (female), in violation ofTitle VII.
             Like and related to, and reasonably arising from the investigation contained in
             the charge, the evidence also shows that Respondent violated Title VIFs record-
             keeping requirements. See 709(c) of Title VII and 29 C.F.R. Part 1602.
             Respondent was unable to produce applicant data for those individuals who had
             applied for a Field Technician position within the requested time frame

Id.


           COUNT I - VIOLATION OF TITLE VII ON THE BASIS OF GENDER

         (19)   Plaintiff incorporates by reference herein the preceding paragraphs of this

Complaint.

         (20)   By and through its conduct. Defendant eTeam, Inc. discriminated against Plaintiff

based on her gender in violation of Title VII of the Civil Rights Act of 1964,42 U.S.C. § 2000e et

seq.


            COUNT II - VIOLATION OF RECORD-KEEPING REGULATIONS

         (21)   Plaintiff incorporates by reference herein the preceding paragraphs of this

Complaint.

         (22)   By and through its conduct. Defendant eTeam, Inc. has unlawfully failed to
  Case 1:15-cv-00934-TSE-JFA Document 1 Filed 07/20/15 Page 6 of 6 PageID# 6




maintain records relevant to whether unlawful employment practices have been or are being

committed, in violation of the applicable record-keeping regulations set forth in Section 709(c) of

Title Vll, 42 U.S.C. §2000e-8(c).

                                 DEMAND FOR JURY TRIAL


       Plaintiff demands a trial by jury.

       WHEREFORE, Plaintiff demands judgment against Defendant eTeam, Inc. and seeks

damages including back pay, front pay, and benefits, $300,000 in compensatory and punitive

damages for pain and suffering and mental anguish, and other such benefits to be determined by a

jury on her Title VII claim, plus interest, costs, the amount of tax on an award and reasonable

attorneys' fees.



                                                     Respectfully submitted,




                                                     J. Andrew Baxtei(p/SB#78275)
                                                     Merritt J. Green (VSB #50995)
                                                     Connie M. Ng (VSB #85910)
                                                     Attorneys for Plaintiff
                                                     General Counsel, P.C.
                                                     6849 Old Dominion Drive, Suite 220
                                                     McLean, Virginia 22101
                                                     Tel: 703-556-0411
                                                     Fax: 1-888-222-6807
                                                     abaxter@gcpc.com
                                                     mgreen@gcpc.com
                                                     cng@gcpc.com
